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In the Gnited States Court of Federal Clans

No. 19-460
Filed: September 20, 2019

 

 

)
SHARON M. MCCREA, )
)
Plaintiff, )
)
v. )
)
THE UNITED STATES, )
)
Defendant. )
)
ORDER

On March 18, 2019, Sharon McCrea, a pro se plaintiff, filed her Complaint with this
Court, and, on May 17, 2019, filed an amended complaint. On July 16, 2019, defendant filed its
Motion to Dismiss pursuant to Rules 12(b)(1) and 12(b)(6) of the Rules of the Court of Federal
Claims (“RCFC”), After Plaintiff failed to timely respond to defendant’s Motion to Dismiss, on
August 22, 2019, the Court issued an Order giving plaintiff an additional 21 days to file her
Response to defendant’s Motion to Dismiss. See ECF No. 14. In that Order, the Court warned
that if plaintiff failed to file her Response to defendant’s Motion to Dismiss on or before the
extended deadline September 11, 2019—plaintiff's Complaint would be dismissed without
prejudice for failure to prosecute under RCFC 41(b), Jd.

To date, the Court has not received plaintiff's Response to defendant’s Motion to
Dismiss. As such, the Court has no choice but to DISMISS plaintiff's case without prejudice for
failure to prosecute pursuant to RCFC 41(b). The Clerk is hereby directed to enter judgment
consistent with this Order.

IT IS SO ORDERED. Jf Af a,
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Loren A. Smith, Senior Judge
